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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )       4:11CB3002
                      Plaintiff,             )       Violation No. W0902908
                                             )       Violation No. W0902909
               v.                            )
                                             )       MOTION AND ORDER TO
CHARLIE D. EMFINGER and                      )       CONTINUE
DIANA EMFINGER,                              )
                                             )
                      Defendants.            )

       The parties have agreed that each defendant will pay $3000 to Nebraska Game and Parks

as part of the settlement of this case, together with a $500 fine. The defendants need time to

make the payments to Nebraska Game and Parks. Accordingly, the government moves this

Court to continue the initial appearances to August 4, 2011.

                                                     UNITED STATES OF AMERICA

                                                     By:       DEBORAH R. GILG
                                                               United States Attorney, D.NE


                                                     And:        s/ Alan L. Everett
                                                               ALAN L. EVERETT #15387
                                                               Assistant U. S. Attorney
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                                                               100 Centennial Mall North
                                                               Lincoln, Nebraska 68508
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      IT IS SO ORDERED this 1st day of June, 2011. The initial appearance is continued to
August 4, 2011, at 8:30 a.m.

                                                     s/Cheryl R. Zwart
                                                     CHERYL R. ZWART
                                                     United States Magistrate Judge
